                     IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF ALABAMA



    IN RE
                                                    Chapter 11
    REMINGTON       OUTDOOR         COMPANY,
                                                    Case No.: 20-81688-11
    INC., et al.
                                                    (Jointly Administered)
                   DEBTORS.1


            MOTION FOR ADMISSION PRO HAC VICE OF ERICA R. IVERSON

        The undersigned respectfully moves this Court for the admission pro hac vice of Erica R.

Iverson of Selendy & Gay PLLC, 1290 Avenue of the Americas, New York, New York 10104 to

represent the Sandy Hook Families2 in the above-captioned chapter 11 cases pursuant to Rule

2090-1 of the Local Rules of this Court and Rule 83.1 of the Local Rules of the U.S. District Court

for the Northern District of Alabama. Ms. Iverson is not a member of the bar of this Court but is




1
  The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax
identification number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding
Company, LLC (9899); FGI Operating Company, LLC (9774); Remington Arms Company, LLC
(0935); Barnes Bullets, LLC (8510); TMRI, Inc. (3522); RA Brands, L.L.C. (1477); FGI Finance,
Inc. (0109); Remington Arms Distribution Company, LLC (4655); Huntsville Holdings LLC
(3525); 32E Productions, LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor Ser-
vices, LLC (2405). The Debtors’ corporate headquarters are located at 100 Electronics Boulevard
SW, Huntsville, AL 35824.
2
  Donna L. Soto, as administratrix of the Estate of Victoria L. Soto; Ian Hockley and Nicole Hock-
ley, as co-administrators of the Estate of Dylan C. Hockley; David C. Wheeler, as administrator
of the Estate of Benjamin A. Wheeler; Mark Barden and Jacqueline Barden, as co-administrators
of the Estate of Daniel G. Barden; William D. Sherlach, in his individual capacity and as executor
of the Estate of Mary Joy Sherlach; Leonard Pozner, as administrator of the Estate of Noah S.
Pozner; Gilles J. Rousseau, as administrator of the Estate of Lauren G. Rousseau; Mary D’Avino
as Administratrix of the Estate of Rachel M. D’Avino; and Neil Heslin and Scarlett Lewis as Co-
Administrators of the Estate of Jesse McCord Lewis.




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a member in good standing of the bar of the state of New York, as well as the bar of the United

States District Court for the Southern District of New York. Ms. Iverson resides in New York and

the foregoing state and district are where Ms. Iverson regularly practices law.

         A fee for admission of $75.00 for Ms. Iverson’s admission will be paid to the U.S. District

Court for the Northern District of Alabama. A proposed order admitting Ms. Iverson pro hac vice

and Ms. Iverson’s certification are each attached hereto. Ms. Iverson requests that she be served

with all notices and papers relating to this case pursuant to her separate Entry of Appearance and

Request for Notices.

         WHEREFORE, the undersigned respectfully requests entry of the Proposed Order annexed

hereto as Exhibit A, admitting Ms. Iverson to practice pro hac vice before this Court in these

cases.

         Dated: August 14, 2020
         Huntsville, AL


                                              Respectfully submitted,

                                             /s/ Tazewell T. Shepard IV
                                             Tazewell T. Shepard III
                                             Tazewell T. Shepard IV

                                             SPARKMAN, SHEPARD & MORRIS, P.C.
                                             P. O. Box 19045
                                             Huntsville, AL 35804
                                             Tel: 256/512-9924
                                             Email: taze@ssmattorneys.com

                                             -AND-




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                                  /s/ Erica R. Iverson
                                  Erica R. Iverson (pro hac vice admission pending)

                                  SELENDY & GAY PLLC
                                  1290 Avenue of the Americas
                                  New York, NY 10104
                                  Tel: (212) 390-9053
                                  Email: eiverson@selendygay.com


                                  Attorneys for the Sandy Hook Families




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         CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE


       Pursuant to Local Rule 2090-1, I certify that I am eligible for admission to this Court, am

admitted, practicing and in good standing as a member of the bar of the state of New York, as well

as the bar of the United States District Court for the Southern District of New York, which are the

state and district in which I reside and regularly practice law. I submit to the disciplinary jurisdic-

tion of this Court for any alleged misconduct which occurs in the preparation or course of this

action. I further certify that the required fee of $75.00 has been paid to the United States District

Court for the Northern District of Alabama.

       Dated: August 14, 2020



                                              /s/ Erica R. Iverson
                                              Erica R. Iverson

                                              Selendy & Gay PLLC
                                              1290 Avenue of the Americas
                                              New York, NY 10104
                                              Tel: (212) 390-9053
                                              Email: eiverson@selendygay.com


                                               Attorneys for the Sandy Hook Families




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                               CERTIFICATE OF SERVICE


        I hereby certify that on this 14th day of August 2020, the foregoing document was filed
with the Clerk of the Court using the CM/ECF system, which will send notification of such filing
to all parties requesting electronic service.



                                           /s/ Tazewell T. Shepard IV
                                           Tazewell T. Shepard IV




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                                    Exhibit A


                                  Proposed Order




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    IN RE
                                                    Chapter 11
    REMINGTON       OUTDOOR         COMPANY,
                                                    Case No.: 20-81688-11
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                                                    (Jointly Administered)
                   DEBTORS.1


            ORDER GRANTING MOTION FOR ADMISSION PRO HAC VICE OF
                             ERICA R. IVERSON

        This matter came before the Court on the Motion for Admission Pro Hac Vice [Doc. ____]

(the “Motion”) Erica R. Iverson of Selendy & Gay PLLC, to appear on behalf of the Sandy Hook

Families2 in the above-captioned chapter 11 cases pursuant to Rule 2090-1 of the Local Rules of




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of the Estate of Daniel G. Barden; William D. Sherlach, in his individual capacity and as executor
of the Estate of Mary Joy Sherlach; Leonard Pozner, as administrator of the Estate of Noah S.
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as Administratrix of the Estate of Rachel M. D’Avino; and Neil Heslin and Scarlett Lewis as Co-
Administrators of the Estate of Jesse McCord Lewis.




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this Court and Rule 83.1 of the Local Rules of the U.S. District Court for the Northern District of

Alabama.

       Upon consideration of the Motion, there appears to be sufficient cause to grant the Motion

and it is hereby ORDERED, DECREED and ADJUDGED as follows:

       The Motion is APPROVED; and Erica R. Iverson is hereby ADMITTED PRO HAC

VICE in this case.

       Dated: _____________



                                            ____________________________________
                                            CLIFTON R. JESSUP, JR.
                                            UNITED STATES BANKRUPTCY JUDGE




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